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  UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF FLORID                          NOV 2 9 2021
                                                                                     ANGELA E. NOBLE
  REF: CIVIL ACTION N 21-CV-23472-RNS                                               CLERK U.S DIST. CT.
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  TO: RYAN BIRMINGHAM, ROMAN LEONOV, MITCHELL PARENT, JONATHAN ZARLEY
  STEVEN HANSEN AND JOHN DOES 1-30, INDIVIDUALLY, AND ON BEHALF OF ALL
  OTHERS SIMILARLY SITUATED as plaintiffs

  FROM : BOONRUK RUAMKIT CO LTD, IT OUTSOURCING CO LTD, MRS NATTPEMOL
  KRINARA, MRS PAPAHRATSORN RAVIRATPORN .

  To the honorable Court, plaintiffs, plaintiffs lawyers,
  regarding Civil Action N 21 -CV-23472-RNS
  we are Boonruk Ruamkit Co Ltd , IT outsourcing Co Ltd , Mrs Nattpemol Krinara
  (manag ing director both companies), Mrs Papahratsorn Raviratporn (shareholder) (here
  and after Boonruk) can clarify following:

  Introducing

  Our main company Boonruk Ruamkit Co Ltd was well established at 2017 year. We start
  small business as a local coffee shop In rural province, but we are seen any opportunity
  to grow. Via ours global network partners, we are set a small consulting and outsourcing
  business in IT (web, game graphics , etc). Some of ours customers sold theirs games with
  ours outsourced design of characters in years, some ours customers using ours
  outsourced open source solution in theirs cold storage for industrial freezing berries.
  *special note: All ours partners inform us that all contacts with us became be toxic due a
  RICO complain and they will never confirm any ours product.

  In the middle of March 2020 we are got from our Russian partner mr Borisov Evgeny
  proposal about contract for some Ukraine based group of. He got it request from his
  Ukrainian partner mr Oleg Ponomarenko, which are, in his que he got direct request from
  a person which are positioned self as owner algorithmic trading start-up (here and after
  Ukraine group)

  When we are asked about nature of business, conditions and another important
  information related to this deal, we are got verbal response (via all links of mediators) from
  the owner, that they are: developed software robot , which is able to operate on financiat
  stock, some commodity stock and forex stocks. More over It Ukraine group looking
  "aged" and "white" IT oriented company because theirs customer need a due diligence
  prdcedures.
  We are specially pointed that respecting law, we are can not provide any "broker-like"
  services without at least local Thailand licenses.
  We got verbal answer from Ukraine group that they are, and we are (Boonruk) no need
  any license, because theirs customer using software robot platform as theirs own
  software, carry all risks as private investors by-self. It is exactly theirs "know how", that
  every user can to connect to -the stock as broker/ investor, can buy/sell on stocks by-self
  via robot.
  We wil l receive/sent a funds from/to a individual and juristic persons,
  robot. As a commercial meaning we (Boonruk) will be a 3-rd party · d~mitrneti1~
  Ukraine group (sell robots) and theirs customers (operated on st ck)
                                                                       *
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 All preliminary negotiating, contracts, customers support, for customers will be provided
 by Ukrainian group , which are experienced for legal and tax, also having and providing to
 theirs customers a solid insurance for stock dealing.
 On.our request to open names operating companies for signing contracts with Ukraine
 group got answer, that can not to do it, because avoid any complains in "insiders
 dealing" or conflict of interest and avoid leaking "know how".
 Additionally Ukraine group pointed that of G7 countries goverr;,ments provided a massive
 financial assistance to support theirs countries peoples and business due a COVID
 par.idemic. Some most active peoples using independent platform because "classical" or
 "institutional" invest solution is not so profitable, but market o'f direct personal
 inv~stments is fast growing, need to rush to take a own place. They expect to run project
 minimum 5 years and sure more.
 Based on here and above, we are seen it group negotiating very professional, seems
 trustable (using a lot professional terms, shown having strong background in Ukraine
 government family members as umbrella), we are trust it group and decide to start.
 *special note: this is was a negotiating only regarding start business proiect. We try to
 understand nature of business and it background. This information not mean that we knew
 about ROFX or another defendants or theirs plans to fraud. This information can not be
 interpreted as any negotiating, iointing or conspiracy with another defendants. We are
 ne11er discussed any topics related to fraud scheme, channels· or it parts. with another
 defendants. This information also not mean that we negotiate'about money laundering
 scheme . Information about software robot also not mean that we are knew about defraud
 "mechanics"

 Ukraine group offer to deduct 2% from all incoming funds as fee for operation Boonruk
 (ITO got a same offer later), which shall to cover incoming payments bank fee (around 20
 usd), outgoing payment bank fee (0.25 pre + Swift fee (20-25 usd), tax in Thailand (15%
 from difference incoming/outgoing funds), Boonruk company profit (0,5 pre after all)
 We are was agreed on it, because it all seems reasonable and-professional , very close to
 conventional payments solution, not as famous 50/50% when everybody can clear
 understand nature of funds as illegal.
 *special note: it information doesn't mean we are knew about nature funds, operated
 laundering monev. or got enrichment, we iust got a money for ours service. as we was
 confident absolutely legal.

  Fir~t transactions to Boonruk was done at April 2020.

 Owner Ukraine project time to time (1 time per month or less) keep contact with our
 partner mr Borisov Evgeny. We are Boonruk, ITO, managing director or shareholders
 never contact him directly. Permanent contact and control for ·daily operations was set
 with accountant Ukraine group via mr Borisov Evgeny by chat in messengers.
 Daily report format we got from Ukraine group.

                                                              SUMMARY FOR Bonnruk 'EUR
 )                                                                   B•nlc FM for
                 Date            Rtocelve (EUR)      Boonruk fn                       Transfer (EUR)
                                                                       (Ominl

 3         16 anpen• 2020                  9'2,00            19,64

 i         21 i!'lpe-/'I~ 2020           ZlillS,00           53,70             s.oo




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  She (accountant) sent info about incoming/outgoing payments, slips for incoming
  payments to confirm transactions, destinations for outgoing payments, also personal
  documents (driving licenses, passports or ID cards) for identify theirs customer for
  outgoing payments. We transfer for them bank slips for ours outgoing payments. Often
  we are noticed a same names in both (receive /sent) list. We are been in very deep
  confident that robot is real and we are working with very high financial culture group.
  *special note this info not mean that we are or ours partner set or manage money
  laundering process. It was as we are feel normal business operation as support Ukraine
  group customers

  Around March 2021 monthly turnover became significantly grow. We decide to open
  second company: IT Outsourcing Co Ltd ( here and after ITO). Main ours target it was
  very pragmatic: to reduce company tax base in Thailand . As results Boonruk and ITO
  shall be keep status of SME ( small enterprise) .
  *special note: IT outsourcing never was established for fraud or money laundering
  purposes or iointed to the conspiracy with another Defendants.

  Additionally we are asked Ukraine group about reasons why turnover is grow so fast?
  We are got a answer that algorithmic solution is quite good and permanently improving.
  Right now independent, personal investments is quiet popular. They are sent links
  https://www.bbc.com/news/business-55843829. amp


       18'33 ..,                                      ,1   lTE I


   GameStop: Meet the
   amateur traders fighting
   Wall Street
   t\y lfotlt:rt PhJl":Tler & N.it,;; ie S!i~r~an
   f).w;: •·•    ~,•Al·.· r<i:<{" 1'( ,-,;




           I
   Until th~ ~t,1rt of tht! pandt!mir., it had n t;vc r
  occurred to Aleit Patton that he could become an
  amateur trader.

  Btit now. 1"\ the wal<t of the Ga,;1eStcp s!iarts fre~zy.
  ht: is ~m?thin9 cf an ud:k,!ly vcte-1a;, cl th'! hn.ln:i.1;
  rnarJ,t>-1c,


  ~e efor., Covld struck,; didri't J,now the first tr-,ng
  abou t ,,,vest11KJ: SJ.)'~ th!! 28--ye:ir-ctd rdlwAy <ybcr-
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  !-.i.irth l<l\t year <l'J'Icte~tt 'HS I'! PS?'' !ia'.,,:r,y., at.low.




  As proofs high activity in the individual investments market.
  Special note * it is normal to keep contact with a partnered group, to check funds flow, it
  doesn 't mean that we are discussed any fraud, or knew about nature of transferred funds.

  At 22 September 2021 all operations by Ukraine group was ended.
  From period end September to mid October we are got numerous S
  revocation payments. Some with exactly reasons as fraud suspec · g.


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  perform any revocation by reason absence any available funds belonging to the Ukrainian
  group.
  Final closing balance UkraineI group was a negative:
  Boonruk -100 usd/+ 100 euro
  ITO - 500 usd/-2619 euro.
  On ours direct request to the owner Ukraine group via ours partner Mr Borisov got exactly
  answer: that in the USA was bankrupted one of "biggest broker" and project got a serious
  financial damages. They are need a 1-2 months to rehab theirs business.
  In the end of October mr Borisov got a call from owner Ukraine group with a
  recommendation to dissolve both ours companies, to close accounts, to changing all
  contacts and etc.
  *special note: this info didn 't mean that we are was a members Ukrainian group or act
  together with them in hiding anv traces.

  3 November 2021 we are got a summons from Southern Florida court.

  Answers (here and after we are using same numbers in accordance of Case Civil
  Action N 21-CV-23472-RNS
                                                                  :r
  (Here and after Boonruk mean Boonruk Ruamkit Co Ltd, ·. outsourcing Co Ltd, Mrs
  Nahpemol Krinara and Mrs Papahratsorn Raviratporn )

  Regarding chapter I Nature of action

  1. We are never know about, or contacted/negotiated with a ROFX.net web resource or
     • company or individuals behind it (here and after ROFX in any face). Never appointed
       ROFX to operate from behalf us. Never advertise self as "robotic trader" (or similar)
       via ROFX. Never offered any proposals to the plaintiffs via ROFX, never contacted and
     ,negotiated directly with ROFX plaintiffs and customers. Plc;iintiffs can It is easy to
       check by tracking IP addresses, chats content, ID in messengers, e-mails or else.
  2. · Boonruk was established in 2017 year, can't to joint to the ROFX in 2016. All related
       info described at Introduction chapter.
  3. We are also feel self a victim of Ukraine group (we are have financial damages and
       reputation damages)
  4. Boonruk never was established or operated for purposes Racketeering or Corrupted
       organization, unjust enrichment, fraud conduct, conspiracy or another plaintiffs points.
       All funds related to Ukraine group already was withdraw by them (we are confirm our
       readiness to assist in tracking all funds).
  5. points of plaintiffs.
  6. points of plaintiffs.


  Regarding chapter II Parties

  7. Regarding short list of plaintiffs (5 names, available to read) according ours brief
  accountant records we can clarify following :




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   Plaintiff                                                                    Boonruk Ruamkit Co Ltd                                 ~
   Ryan Birmingham                                                              No any operation (receive/sent)                         No any operation (receive/sent)

   Roman Leonov                                                                 2 records (1 sent/1 return from)                        No any operation (receive/sent)

   Mitchel Parent                                                               No any operation (receive/sent)                         1 record (sent to)

   Johnatan Zarley                                                              7 records (7 sent to)                                   No any operation (receive/sent)

   Steven Hansen                                                                No any operation (receive/sent)                         No any operation (receive/sent)

  We are also have a records for a names similar or close in spelling to the plaintiffs' names.

  8. Regarding exhibit 1, attached cop ies of invoices, we are recognized (by invoices
  numbers) following names:
   Plaintiff                                                                    Boonruk Ruamkit Co Ltd

   Gerolastinis Ntaniel                                                         No any operation                                        1 records (recieving)

   DIVYA CHIKKAVEERAIAH                                                         No any operation                                       5 records (receiving)

   Dean M Hodgen                                                                No any operation                                        4 records (recieving)


  Additionally we are point to the honorable court, plaintiffs, plaintiffs lawyers, that Boonruk
  Ruamkit Co Ltd or IT Outsourcing Co Ltd never used such for_m of invoices. Our Invoice
  content detailed information about service or goods, price p ,r unit, quantity and etc,
  detailed information for emergency contacts to us (such phone and email address)
  We are declare its invoices is not belonging to us, we are never issued it. We are attaching
  "ours" invoice forms to compare.

   CMt! l 21.cv-23472-XXX.X Oowrner,1 1-1 Enlet'ed on FLSO OO(l(et 09i?917011 Paoe 5 d 70
                                    w ·,.....,.                                                                   B ooNRUK RUAMK.IT co., LTD.




                                                                               ---                                                                              OllANOfO TAJ..




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                               . _ , _ , , ~ I JI/SMON"lll~AD, TLMIOH TAICkANG,t.UENCPMAHG-t,C,,\.Pt-ll.HC~ fMA
                               ,1,:,mcnNw.. ... _


                               .......,., ._.t(ASN:lflH~ff 11(SIERMMTTOWH)
                               ~ICASITHIK
                               ....,__...,..._,...._ ,59~~Mron1J1Road.10iw..t9~1'o.""-~,...._.,,.,... ,o,

                                                                                                                                                                         B.




  We are point that it is simple basis of financial literacy to requ~st, or verif information
  with beneficiary in any doubts with invoice or any relating docume             h nobo
  plaintiffs, earlier, ever do not attempted to clarify all? It seems s
  investments, but never careful ly checked any ...

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  Special note* nobody and never contacted with us regarding ROFX/Ukraine group
  invoices clarification, even using conventional mail. As easy to see we are absolutely able
  to communicate and open to clarify any.

  9-11. We are never has any contacts in any form with ROFX and any persons behind it.
  12. We are received funds from NOTUS LLC, as usual Ukraine group customer. No any
  contacts with persons behind it company.
  13-16. We are never has any contacts in any form with it Defendants.
  17-18. We are never has any contacts in any form with it Defendants.
  19. We are received funds fro,m EASY COM LC, as usual Ukraine group customer. No any
  contacts with persons behind it company.
  20-21. We are never has any contacts in any form with it Defendants.
  22-24. We are never has any contacts in any form with it Defendants.
  25-27. We are never has any contacts in any form with it Defendants.
  28. We are never has any contacts in any form with it Defendants.
  29-31. IT Outsourcing Co Ltd was well established in 2021.
  Registered address: 520/3 MOO 3, BANG NON, MUENG, RANONG 85000, THAILAND.
  Shareholders is a Mrs Nattpemol Krinara and Mrs Papahratsorn Raviratporn .
  Mrs Nattpemol Krinara is a managing director.
  Company still be active. Encountered suffering due RICO complain.
  32. Boonruk Ruamkit was well established in 2017.                -
  Registered address: 131/5 MONTRI RD., TAI CHANG, MUENG, PHANG-NGA 82000,
  THAILAND
  Shareholders is a Mrs Nattpemol Krinara and Mrs Papahratsorn Raviratporn
  Mrs Nattpemol Krinara is a managing director.
  Company still be active. Encountered suffering due RICO complain.
  33. We are received funds from GROOVE LLC, as usual Ukraine group customer. No any
  contacts with persons behind it company.
  34-36. We are received funds from SHOPOSTAR LLC, as usual Ukraine group customer.
  No-any contacts with persons behind it company.                '
  37..:38_ We are never has any contacts in any form with it Defendants.
  39. We are received funds from GLOBAL E ADVANTAGES LLC, as usual Ukraine group
  customer. No any contacts with persons behind it company.
  40. We are never has any contacts in any form with it Defendants.
  41. We are never has any contacts in any form with it Defendants.
  42. We are never has any contacts in any form with it Defendants.
  43. We are Boonruk Ruamkit Co Ltd, IT Outsourcing Co Ltd ; ,Mrs Nattpemol Krinara, Mrs
  Papahratsorn Raviratporn never discussed, planned, never contacted or jointed with
  another Defendants to defraud of plaintiffs. We are can not be responsible for acting of
  Ukrainian group.
  *special note: for a 12) 19) 33) 34) 39) we are requested (due 'its seems as permanent
  customers with a significantly high volume transactions) any corporate or signatures
  personal documents under KYC (know your customer) proceaures from accountant
  Ukraine group. We got a few filled-up drafts contracts which in our opinion is was
  unusable ( no signatures, no company sea/, no attached scans documents or else)
  This information doesn't mean we are knew about nature transferred by its companies
  funds or we are res onsible for theirs action or we are launderin         _____      act
  via them, or they are act in ours interests, or else.




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  Regarding chapter Ill Jurisdiction

  44-47. We are respecting a rights of plaintiffs to protect own interests in the court.
  *Special note: Boonruk Ruamkit Co Ltd • IT outsourcing Co Ltd. Mrs Nattpemol Krinara
  (managing director both companies). Mrs Papahratsorn Raviratporn (shareholder both
  companies) Never conducted any commercial!iuridical (on behalf companies or
  personally) or another activity in USA. Never been registered in USA by self. or via
  appointed agent. never advertise by-self directly or via agent. never offered any proposals
  or negotiated directly or via agent not only with plaintiffs or ever another persons . We are
  not have any property, ensuring. or else. We are not has any contacts with USA
  iurisdiction. Due a language problems (we are not a native English speakers). due
  absence any personal iuridical knowledges relating to the Law of USA for present or
  protect self. due that for us is absolutely Impossible to hire anv lawyer in the USA. we
  specially point honorable court. plaintiffs. plaintiffs lawyers that we can not be confident in
  fair process to protect self. We do not accept Jurisdiction.
  But we are ready and able to be a witness. to provide a key info (as operations insider) for
  plaintiffs against another defendants.

  Regarding chapter IV Unlawful conduct

  48-49. We are never knew, has any contacts in any form with ·ROFX and any persons
  beh ind it.
  5o. ·we are not have any relationship to the ROFX platform "mechanics" such request for
  personal documents, open accounts and etc.
  51 -52 . We are never advertise self in mentioned media or use' or appoint for it any agents.
  53. We do not access to the ROFX to check as they are used ours contact clearly. But we
  do not got any phone call or email from any ROFX/Ukraine group customer since 20 April
  2020 until now.
  54. We are never contacted via any chat-bot with ROFX customers and never promised
  them any.
  55-56. We are never offered any option for a ROFX customers.
  57. We are never negotiated, prepared or provided ROFX customer any package or
  provided withdraw service.
  58. We are ever never operated in BTC due the Thailand is not clear defined
  cryptocurrency law.
  59-60. We are confirm that received funds as a legal business basis via ours bank
  account. But we are never been end-beneficiary in funds flow.
  61. We are physically can 't to show any Boonruk accounts info on the ROFX, due
  absence any access to it, ever never know about ROFX existence.
  62 . We are never and nothing posted on mentioned web.
  63. We are never has any contacts in any form with Ester. We didn 't know about
  relationsh ips between Ester and ROFX theirs "mechanics" on··mentioned web.
  64-65. We are didn 't know any about ROFX "algorithms" proposals.
  66-72. We are didn 't know any about ROFX ICO, related to it promo and defraud.
  73. We are never managed any ROFX customers balances, or fee for withdraw.
  74-77. We are never set any regulations for withdraw ROFX customers.
  78-79. We are never related to the ROFX.net web as owner, administrator, service
  provider or else. We are not responsible for it operations. It can easy    ack b req
  from ours devices and IP addresses.


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  80. We are now realizing that Boonruk was cheatingly involved in the fraud scheme. We
  are ready to assist honorable court, plaintiffs, as key witness which are know system
  "inside"
  *special note: 80) doesn 't mean we are confessed in illegal activity. We are respecting law
  any country, we do not planned, not conducted anything by-self. We are was cheatingly
  involved.

  Regarding V. CLASS ACTION ALLEGATIONS

  81 -89. We are respecting law and a rights of plaintiffs to protect own interests in the
  court.

  Regarding VI Pray and relief

  Count I common law fraud

  90. We are respecting law and a rights of plaintiffs to protect own interests in the court.
  But we want to know proofs of plaintiffs Regarding point 91 -98
  91 -92. We are not relating to the ROFX fraud scheme in any orm.
  93. Until 3 November 2020 ( when got a summons from court) We are was confident that
  all operations Ukraine group (Behind ROFX) is legal. We didn't suspect any crime, due it
  operations seems very professional.
  94. We do not stimulate any plaintiffs for payment in any form . We are never contacted .
  95. As we are note in the answer to 8) and special note to it plaintiffs shall be careful to
  check all. We are never contacted them and never mislead them.
  96-97. We are operated as 3-rd party, can not be responsible for a relationship between
  others parties.
  98. As we are detailed describe in introduction as we got a lot requests for revocation in
  end September to the middle October period. Unfortunately we are can not to perform it
  because closing balance ( at 20 September) from Ukraine group was negative. We are not
  cancelled attempts plaintiffs, we was unable to perform it.

  Count II - Unjust Enrichment

  99. We are respecti ng law and a rights of plaintiffs to protect own interests in the court.
  But we want know proofs of plaintiffs regarding regarding points 1-98.
  100. We are never contacted , promised , never appointed ROFX to negotiate on behalf us
  with ROFX customers.
  101 . We never was jointed to ROFX scheme "distribution profit". We was confident that
  ours activities has a real business meaning.                     •.
  102. We are has a business motivation received/sent money without any delays, never
  has any attempt to retain plaintiffs money.
  103. We are never steal plaintiffs capitals.
  104. We never knew, never create, never manage any related to the ROFX schemes
  stealing capitals.
  105. Boonruk and group beh ind decided to start cooperation with Ukraine group at 2020.
  Boonruk has a negative balance at ending operations

  Count Ill - Violation


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  106°. We are respecting law and a rights of plaintiffs to protect own interests in the court.
  But we want know proofs of plaintiffs regarding regarding po_   ints 1- 105.
  107. We never and nobody never to offer to us any "enterprise" . We are not feel self even
  a part of "enterprise" (pis take a look on ours nationality , we are quiet different from core
  croup)
  108. We never knew, discussed with another defendants or persons behind any details,
  purposes or similar topics as ROFX fraud , distribution stollen funds or else.
  109. We operated with Ukraine group only as commercial project, never as a employee
  part of fraudulent enterprise.
  110-111 . We are never apply any tactics as racketeering definition to receive money from
  plaintiffs. We are never contacted them , we are Never been even a part any corrupted
  enterprise.

  Count IV - Violation

  11 2 We are respecting law and a rights of plaintiffs to protect own interests in the court.
  But we want know proofs of plaintiffs regarding regarding points 1-111.
  113. We are never knew, never discussed, never jointed to the ROFX as knowing about
  criminal nature of it Ukraine gmup.
  114. We never discussed with Ukraine group any plans to break USA law in any form.
  115-116. We are never know about nature of Ukraine group, ROFX never discussed any
  pl~ns, conditions or else or agreed or conspiracy basis.

  Count V - Request For Temporary Injunction

  11 ~. We are respecting law and a rights of plaintiffs to protect own interests in the court.
  Bu~ we want know proofs of plaintiffs regarding regarding points 1-116.
  118. Regarding Boonruk and persons behind bank accounts we again point that closing
  balance Ukraine group was negative, we are not kept or keeping any related to ROFX
  funas.
  119. Boonruk never targeted to steal plaintiffs investments, furthermore use it for own
  purposes.
  120. As we are pointed above we are can not to dissipate any plaintiffs assets, due that
  all incoming flow ended at 20 September.
  121. We are kindly asking honorable court, plaintiffs, plaintiffs lawyers do not issue
  preliminary injunction to Boonruk and persons behind banks accounts. Main reason that
  we not have any another opportunity to get income. We are already encountered suffering
  due publication RICO class action. We will no have any source for survival. As we are
  mentioned above closing Ukraine group balance was negative from 20 September.
  Injunction meaningless for Boonruk and persons behind, we are not a core Ukraine
  group/ROFX.
  122- 124. It is a right of plaintiffs.

  Count VI - Conspiracy

  125. We are respecting law and a rights of plaintiffs to protect own interests in the court.
  But we want know proofs of plaintiffs regarding regarding points 1-116.
  126. IT Outsourcing never collaborated , knowing agree, conspired to co
  another defendants any fraudulent unlawful scheme. ITO ( as mentio di
  was created at 2021 with only one target: to reduce company tax ba eJ ue gr

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   Boonruk turnover) in Thailand . As results Boonruk and ITO shall be keep status of SME
   ( small enterprise).
   127. We are Boonruk and persons behind never discussed inside own group or with
   Ukraine group or with any def.endants in any form possibility, {rvays to cheat Plaintiffs.
   128. We can't comment list, because can 't understand it due black blocks.
   129. We are never contacted , discussed, planned or agree to brokering deposits with
   another Defendants for any purposes.
   130 We are never contacted , discussed, planned or agree with Ester for any purposes.
   131. No answer

   Deal Propose with a honorable court, plaintiffs, plaintiffs lawyers.

  Regarding all mentioned above we are hope that honorable court, plaintiffs and plaintiffs
  lawyers can clear see that we are very different from Ukraine group not only as sign of
  ethnic criminal group (they are numerous Ukrainian origin peoples, some of them related
  to a few Defendants, but we are only Thai nationality and 1 our Russian partner).
  Add itionally we would like to pay attention of Honorable court, plaintiffs, plaintiffs lawyers,
  that, as we are knew, only we are answered to the summons and questions.
  Easy to see that we are victim , we was cheatingly involved in :Ukrainian group defraud.
  We got a financial damages from Ukraine group and reputation damages.
  We want to point that it is a highly organized , highly skilled group, having advanced
  internal security measures, they are already attempted to hide transaction information,
  contacts (changing phone numbers, ID in messengers, cleaning chats) stollen funds was
  transferred via different channels.
  In opposite we are still be open for court, plaintiffs and plaintiffs lawyer, any federal
  government agency, we are ready and able to cooperate, share our experience, every
  information, opinion about working style Ukrainian group with court, plaintiffs and
  plaintiffs attorney in the status of witness.
  Ours proposal :
  1) Sign pre jury agreement subjected of withdrawal all clain1s related to Boonruk
     ' (companies and individuals behind) .
  2) Boonruk (companies and individuals behind) will transfer all information (transaction
      •records, bank slips, invoices for encash ing channels, contacts, related to Ukraine
       group) to plaintiffs for tracking funds and Ukraine group members.
  3) Boonruk (companies and individuals behind) will transfer personal information for
       tracking persons, members Ukraine group (n ick names, contact in messengers,
       information about property which can help exactly recog o:ize them. Intercept sensitive
       information via administration of messengers (Telegram and Signal ), to get a proofs of
      ·theirs criminal activity and recognize them in Ukraine, and another locations)
  4) •From last communication we are know about plans Ukraine group back to the forex
       market from mid of January 2022. They are asked us to provide new company same
       as Boonruk. So we can be a key persons to trace owners Ukraine group exactly.
  5) As we are knew information that owner Ukraine group want to open online casino to
       legitimize his income which got from ROFX defraud. He asked us to set payment
       (PSP) solution .
  6) Boonruk will joint to the plaintiffs with a complain about fi nancial damages (current
       balance is negative around 3500 usd) and reputation risks against ROF~ u.iw----
       members of Ukraine group.
  *s ecial note: Information 5 6 doesn 't mean we are still be active a
  iust mean we want to discover theirs plan since we knew about it.

                                                                  ' "
   Page 10                  REF: CIVIL ACTION N 21 -CV-23472-RNS
Case 1:21-cv-23472-RNS Document 47 Entered on FLSD Docket 11/30/2021 Page 11 of 23
  Page 11              REF: CIVIL ACTION N 21 -CV-234 72- RNS




  CERTIFICATE OF SERVICE

  I HEREBY CERTIFY THAT A COPY HEREOF HAS BEEN FURNISHED BY E- MAIL
  AND BY POST SERVICE TO THE PERSONS LISTED BELOW THIS 24 DAY OF
  NOVEMBER 2021 .
  REF: CIVIL ACTION N 21 -CV-23472-RNS

  TO PLAINTIFFS: RYAN BIRMINGHAM , ROMAN LEONOV, MITCHELL PARENT,
  JONATHAN ZARLEY STEVEN HANSEN 1-30, INDIVIDUALLY, AND ON BEHALF OF ALL
  OTHERS SIMILARLY SITUATED AS PLAINTIFFS

  DEFENDANTS: BOONRUK RUAMKIT CO LTD, IT OUTSOURCING CO LTD, MRS
  NATTPEMOL KRINARA, MRS PAPAHRATSORN RAVIRATPORN.
  PRESENTED WITHOUT LAWYER
    '
  SENT TO: JOSE A. CASAL
  ADDRESS: 701 BRICKELL AVENUE, SUITE 3300, MIAMI, FLORIDA, UNITED STATES OF
  AMERICA, 33131

  (PHONE) (305) 789-77-13. JOSE.CASAL@HKLAW.COM


  I, folM MRS NATTPEMOL KRINARA, A NON-LAWYER,
  (PHONE) +66 84 543 2089 , NATTPEMOL@HOTMAIL.COM
  FILL -OUT IT BY-SELF IN RESPONSE OF COURT SUMMONS AND COMPLAINT FOR
  CASE 21-CV-23472- RNS




  Page 11              REF: CIVIL ACTION N 21 -CV-234 72 - RNS
                                         Case 1:21-cv-23472-RNS Document 47 Entered on FLSD Docket 11/30/2021 Page 12 of 23
                                           Case l:21-cv-23472-XXXX Document 1-2 Entered on FLSD Docket 09/29/2021 Page 5 of 70
    9/24/2020                                                                               RoFx Invoice



                         MGmail


                         Compose
                                                              °'    Search mail
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                                                                                   ~wtl.!wru1.
                                                                                                                                                   0...:               24 Septerrber 2020
                         lnbox                      3
                                                                                                                                                   Amount              4,000.00 EUR

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                         Important                                                                                                                     Det'lffsofPayment

                         Sent                                                     p,mt Invoice 56869.2 dated 24.09.2020




              --
                        Drafts                                                    Enter the following bank details accurately prior to making a transfer. Failure to provide the correct bank accou
                                                                                  a rejection of the transaction by the receiving bank or a processing delay. as the bank wtll not be able to ~
                        Categories




             --
                        =Coln Base
                                                                                      Beneficiary Account Name: BOONRUI< RUAMl<IT CO., LTD.
                        =FWWCU                                                        Beneficiary Address: 131/5 MONTRI ROAD, Tl.MBON TAI CHANG, MUENG PHANG-NGA. PHANG NGA. THA
                                                                                      Account N1mibet .




            --
                        =HellenlcBanker
                                                                                      Benefaclary Bank: KASIKORN SUKHLMVIT 21 (SERM MIT TOWER)
                                                                                      SWIFT: KASITHBK
                        =LAPTOP
                                                                                      Beneficiary Bank Address: 159 Asok Montri Road. Khwaeng Khlong Toei Nuea. Khet Vadhana, Bangkok 101
                        =Medical
                                                                                      Amount 4,000.00 EUR
           Meet                                                                       Payment Reference: prmt invoice.56869.2 da~ 2.4.0i,2.020
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Case 1:21-cv-23472-RNS Document 47 Entered on FLSD Docket 11/30/2021 Page 13 of 23



                                                                   i;~1A11niln1lt111
                                                                   fffflfflf5 KASIKORNBANK
       CREDIT ADVICE / RECEIPT
       USIKORNBANK PUBLIC COMPANY LIMITED
       INTERNATIONAi. TRADE AND FACTORING PROCESSING DEPARTMENT
       I SOI RA Tl3U RA NA-27l l.
       RA TBURANi\ ROAD.
       BANGKOK 10140. THAILAND.

       TAX ID:                        0107536000315


       RECEIPT NUMBER:               IR206685S630092020085418
       TRANSACTION REF:                                                                                         DATE:30-Sep-20
                                     IR20668556
       MESSERS                        BOONRUK RUAMKIT CO,,L TD.
                                      131 /5 MONTRI RD,.
                                      TAI CHANG. MUENG.
                                      PH'ANG-NGA 82000. THAILAND.

      WE CONF IRM I-IA YING CREDITED YOUR ACCOUNT TODAY AS PER FOLLOWING DETAILS
      A/C NO                    6 119208651

      SENDER REF                     ASW4 1l 14/290920
      SENDER BANK                    RAIFFEISEN BANK INTERNATIONAL AG
                                     AM STADTPARK 9 VIENNA 1030
                                     AUSTRIA
      ORDERING INSTITUTION           HELLENIC BANK PUBLIC COMPANY LTD.
                                     HEAD OFFICE CORNER LIMASSOL AVE.
                                     AND 200 ATHALASSAS AVE. 2025
                                     NICOSIA (LEFKOSIA) CYPRUS
                                     HFBACY2N
      ORDER ING CUSTOMER             'GEJlOLATSITIS NTANIEL
                                     16 ERESSOU fLA T 30 I
                                     1070    NICOSIA
                                     CYPRUS
      ACCOUNT WITH BANK              KASIKORNBANK PUBLIC COMPANY LIMITED
                                     27/1 RATBURANA RD. I SOI RAT BURANA
                                     BANGKOK 10140 THAI LAND
      DETAILS OF PAYMENT             PMNT'INVOIC 6869,2DAT~D 24.09.202
                                     0 SERVICE
      PAID BY                        TT
      CREDIT AMOUNT                  EUR1,000.00

      DESCRIPTION                                  I   CCY   I   AMOUNT    I   RATE   I   FX REF.NO   I   CCY          AMOUNT
     Principal Amount                              I         I             I          I               I   EUR            4,000.00
     TOTAL AMOUNT                                                                                         EUR            4,000.00
     "FOREIGN BANK CHARGE & STAMP DUTY vid'.ltum::'!l?l-l~nA'11~5'il'l1LU'Ul'1rJL~'IJ'tl-lfi'trn'l11"
     MID RA TE FOR CONVERSION TO THH OR REFUND TAX = 36.9956

     KAS IKORNBANK PUBLIC COMPANY LIMITED


     Tl IJ S RECEIPT DOES NOT REQUIRE AN AUTHORIZED SIGNATURE
     *** TOTAL FEE FROM 1,000 BAHT AFTER COUPON DEDUCTION (IF ANY)                        ER T
     FOR REFUNDING TAX 3%
Case 1:21-cv-23472-RNS Document 47 Entered on FLSD Docket 11/30/2021 Page 14 of 23

   Case l :2 l -cv-23472-XXXX Document 1-2 Entered on FLSD Docket 09/29/2021 Page 25 of 70


     Revolut                                                                         Transfer Confirmation
                                                                                                             Oat•: 20 S.p 2021


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     ll;AN
     BIC




    Trensfet Confirmation


     • ""'ount                                                    € 5.600

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       External rete,.nce                        09366647 NTRF

       UETR Rmrence




    Benefici ary Details


      Name                                    tr 09'TSbUfteJNG)
                                                ..   .,,]Ii,



      Address     520i 3 MU 3, BANG NON SUB DISTRICT TH/MUENG
                                        RANONG DISTRICT 85000

      Account 11umt>er

      SIC




                                                                                     I
                                                                                     tTOutsourcing Co.,Ltd. \
                                                                                     tl~H'Yl   1el'Yl be)1'1'l"Zrn1~-B-i i1nl91
Case 1:21-cv-23472-RNS Document 47 Entered on FLSD Docket 11/30/2021 Page 15 of 23


                                                                    fiil>   ,~,,nan,''1!1
                                                                    -Jf     f8 t5 KASIKORNBANK

    CREDIT ADVICE / RECEIPT
    KASIKORNBANK l'UBl.ll' COMPANY LIMITED
    INTERNATIONAL TRADE AND FACTORING PROCESSING DEPARTMENT
    I SO I RATIWRANA 27/ 1.
    RATBURANA ROAD.
    B N(,KOK 10140. TllAll .AND .

     TAX ID:                     0107536000315


     RECEIPT NUMBER :            IR2141996021062021091924
                                                                                                                        DATE:2 l-Jun-21
     rRANSAC'TION REF:           IR21419960
     MESSERS                      IT OUTSOURC IN G CO .. LTD.
                                  520/3 MOO 3.
                                  BANG NON . MUENG.
                                  RANONG 85000. THAILAND.

     WE CO Fl RM I IA YING CREDITED YOUR ACCOUNT TODAY AS PER FOLLOW ING DETAILS
      IC NO                    61 19208767

     SE DER REF                  03MTLI0617913556
     SEN DER BANK                DEUTSCHE BANK AG
                                 TA UNUSANLAGE 12 60262 FRANKFURT AM
                                 MAIN GERMANY
     ORUERING INSTITUTION        REVOLUT LTD
                                 THE COLUMBUS BUILD ING FLOOR 4 7
                                 WESTFERRY CIRCU S LONDON El4 4HD
                                 UN ITED KINGDOM
                                 REVOGB21
     ORDERING CUSTOM ER          DIVYA CHIKKAV EERAI AH
                                 2/5 COPPERFIELD CLOSE
                                 3/GO/WOL VERHAMPTO WVJ 9EE
     ACCOUNT WITH BANK
     DETAILS OF PAYM ENT          PMNT INVOICE 95686.4 DATED
                                  17.06.2021 SERVICE
     PAID BY                      n
     CREDIT AMOUNT                EUR5.645.00

      DESCRIPTION                               I   CCV     I     AMOUNT       I   RATE     I   FX REF.NO    I    CCV          AMOUNT
     Principal Amount                           I           I                  I            I                I    EUR           5,645.00
     T OTA L AMOUNT
                            ..
     "FOREIGN BANK CHA RGE & STAMP DU " I Y
                                                    .J                   ., , .            .,
                                                    V1LUU1111::'ll?J ~~nr11\J.Jcim1Lut.nt11c;i'll?J~fit.1f'l11"
                                                                                                                  EUR           5,645.00


     MID RATE fOR CO VERSION TO THB OR REFUND TAX = 37.463

     KASIKORNBANK PUBLIC COMPANY LIMITED
Case 1:21-cv-23472-RNS Document 47 Entered on FLSD Docket 11/30/2021 Page 16 of 23


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                                   Wire Transfers FROM RoFx



                                    activity type credit    1,985.00
     Hideadditlona1 infor mation
     for activity type credit
     1,985.00WlR.E TYPE : INTL
     IN DATE:210804
     11ME :0506 ET
     TRN



                                    Type:
                                         Credit
                                     Description:
                                         WIRE TYPE:INTL IN DATE:210804 TIME: 0508 ET
                                            TRN -                 SEQ :OR21321327/135918
                                            ORI ~                  O.,LTD . ID:XXXXX08759
                                            PMT DET: $15.00 FEE DEDUCTINV.NO.IT202108005
                                      Merchant name: j
                                         IT OUTSOURCING CO .,LTD .Se lect toEditthe merchant
                                            name
                                       Merchant information:
                                        Tra nsaction category: i
                                          Income: Other Income Select toEdit




                                                                       IITOutsourcing Co.,Ltd. I
                                                                       U~~~1DTib01~~01~~~~1n~
Case 1:21-cv-23472-RNS Document 47 Entered on FLSD Docket 11/30/2021 Page 17 of 23




                                                                          1f   ffl ffl fi KA Sf KORN BANK
         RECEIPT

         KASIKORNBANK PlJDI.IC COMPANY I.IMI rrn
         INrER ATIONt\l. TRt\lJE AND FACTORING l'RO ' ESSIN(i DEPARlMENT
         400122 PIIAIIONYOTIIIN ROAD.
         SAMSENNt\l. PIIAYJ\TIIAI.
         BANGKOK 10400. THA ILAND.

        TAX ID:      0107536000.H5
                                                                                                          DA TE:04-Aug-2 I
        RECEIPT NUMBER :         OR2 I 32132704082021091529
        TRANSACTION REF:         OR21321327
      MESSRS:                    IT OUTSOURCING CO .. LTD.
                                520/3 MOO J.
                                BANG NON. MUENG.
                                RANONG 85000. THAILAND.
       REMIT PROCEEDS TO:       13ANK OF AMERICA. N.A.
      FOR SElTLEMENT OF:       000085000631
                               DEAN M HODGEN OR LORI I !ODG EN
     rr AMOUNT:                USO 2.000.00
     DETAIL OF PAYMENT:        INV.NO.IT202108005
       WE HA VE RECEIVED PAYMENT BY DEBIT ACCOUNT
     N C NO.:                 6119208759
     NC NAME:                 IT OUTSOURCING CO .. LTD.
     PURPOSE:


      DETAILS AS FOLLOWS:

        DESCRIPTION                    CCY              AMOUNT          RATE          FX REF. NO.         CCY                       AMOUNT
     Principal Amount                                                                                     USO                        2,000.00

     COMM FOR FCD (USO IN                                                                                 USO                              50.00
     USO)•••
    REMITTANCE & AMEND                                                                                    USD                               5.00
    COMM. USD*u
    SWIFT CHARGES IN                                                                                      USO                              20.00
    uso•u
    TOTAL AMOUNT                                                                                          USO                           2,075.00
    • FOREIGN BANK CHARGE & STAMP DUTY YiLUW11l::'ll?J,l~nr-lf1'h.iii?J'J1LU'Un£JL~'IJ?),lfi'IJ11'l1)'"
   MID RA TE FOR CONVERSION TO THB OR REFUND TAX = 33.0192

   KASIKORNBANK PUBLIC COMPANY LIMITED

   THIS RECEIPT DOES NOT REQUIRE AN AUTHORIZED SIGNATURE.

   n• TOTAL FEE FROM 1,000 BAHT AFTER COUPON DEDUCTION (IF ANY) PER ·r ~                            CJ ]ON CAN B.E JJ SED d · 1
   FOR REFUNDING TAX 3%                                              _•I                        vursourcmg        l,;0.,Lt ..

                                                                                           1J~~'l'110ri teJ1      .,
                                                                                                          ~............,,.::.:..!:'._




  FEE CALCULATION IN DETAIL:
  COMM FOR FCD (USO IN USD)*** - Fee Type = IPercentage]
  0.25%on 2000
  Minimum Char ca       lied: 50 USO
     Case 1:21-cv-23472-RNS Document 47 Entered on FLSD Docket 11/30/2021 Page 18 of 23

       Case 1:21-cv-23472-XXXX Document 1-2 Entered on FLSD Do ket 09/29/2021 Page 27 of 70




' 11 / 20 2 1H1doadd1t1 on.-tl mformnt1on tor ilCtt~               O OOW IRE TYPE : !NTL IN activity type 4 ,900 .00
             DA.T l 210811 1 !Mf. OB-18 l T TRN -                                             credit



          Type:
                   Credit
            Description:
                W IRE TYPE.:l NTL IN DATE: 2 1081 1 TIME :0648 ET TRN -
                SEQ ;OR213 319 24/ 203046 ORIG : BOONRUK RUAMKIT ~ 8 5 7 4 PMT
                DET : INV .NO. 20 2108013
             Merchant name: J
                 BOONRUK RUAMKIT CO .,LTO .Selec t toEd itthu merchant name
              Merchant information:
               Transaction category:·?•
                   Income : Other Income Select toEdit




:/ 20/ 202 1Hidoadd1t1 on al information for actMtv ty pe cred it 2.38 5.00WIRE TYPE : INTL IN activity type2 .385 .00
            DATE:210820 TIME: 0608 ET TRN :                                                    credit



           Type:
                   Credit
            Description:
                   WIRE TYPE : INTL IN DATE : 210820 TIME :0608 ET TRN :
                   SEQ :OR21344870/273988 ORIG : IT OUTSOURCING CO .. LTD . tD : XXXXX08759 PMT DET : $15.00
                   FEE DEDUCTINV.NO : IT202108037
              Merchant name: f
                  IT OUTSOURCING CO .. LTO .Select toEditthe m erchant nam e
               Merchant information:
                Transaction category: 1
                   Income : other Income Select toEdit
Case 1:21-cv-23472-RNS Document 47 Entered on FLSD Docket 11/30/2021 Page 19 of 23
                                                                    -   rv I w 1   1 fJ I I OJ I I O   I> f I c;,,

                                                                   --ffffl tP.lJ KASIKORNBANK
     RECEIPT

     KASIKORN13ANK PllAUC COMPANY LIM rrm
     INTERNATIONAL TRADE AND FACTORING PROCESSING DEPARTMENT
     400/22 PllAHONYOTIIIN ROAD.
     SAMSENNAI. PIIAYATIIAI.
     BANGKOK 10400. THAILAND.

     TAX ID:      0107536000315
                                                                                                            DATE : 11 -Aug-21
     RECEIPT NUM 13ER:       OR2 l 331924 l 1082021153002
     TRANSACTION REF:        OR21331924
     MESSRS:                 BOONRUK RUAMKff CO ., LTD .
                             131/5 MONTR I RD ..
                             TAI CHANG. MUENG ,
                             PHANG-NGA 82000. THA ILAND.
      REM IT PROCEEDS TO:    BANK OF AM ERICA. N.A.
     FOR SETTLtM ENT OF :    00008500063 1
                             DEAN M HODG EN OR LORI HODGEN
     n   AMOUNT :            USO 4.900.00
     DETAIL Or PAYMENT:      INV.NO. 202 108013
       WE HAVE RECEIVED PAYMENT BY DEBIT ACCOUNT
     A IC NO.:               3329208574
     A/C NAME:               BOONRUK RUAMKff CO ., LTD .
     PURPOSE:


      DETAILS AS FOLLOWS:

      DFSC RIPTION                    CCY              AMOUNT           RATE          FX REF. NO.                CCY            AMOUNT
      Principal Amount                                                                                           USO             4,900.00

     REMITTANCE & AM END                                                                                         USO                 5.00
     COMM . uso••·
     SWIFT CI-IARGES IN                                                                                          USO                20.00
      uso••·
     LUMM tUK tLU (U::,u IN                                                                                          u~u            50.00
     USO)***
     FBC PAY IN FULL                                                                                                 USO             40.00
     TXN=USD, FEE=USD***
     TOTAL AMOUNT                                                                                                    USD          5,015.00
     'I FOREIGN   BANK CHARGE & Sf AMP DUTY ~LUUJ111:;'IJ?J~\ln~1'W5'1l'l1LU1.mt!'l~'ll'fl~fi~11'111 "
     MID RATE FOR CONVERSION TOTHB OR REFUND TAX = 33.4688

     KASIKORNBANK PUBLIC COMPANY LIMITfl)
     .
     '
     THIS RECEIPT DOFS NOT REQUI RE AN AUTHORIZED S IGNATURE.
     ,
     ~•• TOTAL FEE FROM 1,000 BAHT AFTER CO UPON DEDUCTION (IF ANY) PER TRANSACTION CAN BE USED
     FOR REFUNDING TAX 3%




     FEECALCULATIO N IN DETAIL:
     COMM FOR FCD (USD IN USD)*** • Fee Type = [Percentage]
     0.25% on 4900
     Minirnurn Charge applied : 1.50 USDJ
Case 1:21-cv-23472-RNS Document 47 Entered on FLSD Docket 11/30/2021 Page 20 of 23


                                                                         f5«ut1A11nin1 t1!J            l
                                                                         .ff ffHff fi KASIKORNBANK

     RECEIPT

     KASIKORNBANK PllBLI( ' COMPANY LIM ffED
     INTERNATIONAL TRADE AND FACl'ORING PROCJ~'-;SIN(i DEPARTMENT
     400/22 Pllt\llONYOTIIIN ROAD.
     SAM SENNA I. PIIA YA lllAI.
     BANGKOK 10400. TIIAILAND .

     T1\X ID:      0107536000315
                                                                                                             DATE:20-Aug-21
     RECEIPT NUMBER :           OR2 IJ448702008202116 I058
     TRANSACTION REF:           OR21344870
     MESSRS:                    IT OUTSOURCING CO .,LTD.
                               520/3 M(X) J.
                                BANG NON. MU ENG.
                               RANONG 85000, THAILAND.
      REM ff PROCEEDS TO:       BANK OF AM ERICA. N.A.
     FOR SETTLF.i\.1 ENT OF:   00008500063 1
                               DEAN M HODGEN OR LORI HODG EN
     TT AMOUNT':               USO 2,400.00
     Dl:.7'AILOFPAYMENT:       !NV.NO: IT202108037
       WE HA VE RECEI VEO PAYMENT BY DEBIT ACCOUNT
     A IC NO.:                 6119208759
     A iC NAME:                IT OVfSOURCING CO. ,LTO.
     PURPOSE:


      DETAILS AS F'OU..OWS :

      DESCRIPTION                      CCV              AMOUNT           RATE           FX REF. NO.           CCV             AMOUNT
      ~>rincipal Amount                                                                                        USD             2.400.00

     SWIFT CHARGES IN                                                                                          USD                20.00
     USO**•
     COMM FOR FCO (USO IN                                                                                     USO                 50.00
     USO)***
     REMII lANLt&AMEND                                                                                        USD                  s.uu
     COMM . USO***                         '
     TOTAL AMOUNT                                                                                             USO              2,475.00

                                                                     .
     • FOREIGN BANK CHA RGE & ST AMP DVfY yfojw,11::'!l'il.:lrlnA'1'W~'il~1d'h.1ntJL/1\'Ml.:lfil.l11'111 "

     MID RATE FOR CONVERSIONTOTHB OR REFUND TAX = 33.3986

     KASIKORNBANK PUBLIC COMPANY LIMIT FD

     THIS RECEIPT DOFS NOT REQUIRE AN AUTHORIZFD SIGNATURE.

     ••• TOTAL FEE FROM 1,000 BMff AFTER COUPON DEDUCTION (IF ANY) PER TRANSACTION CAN BE USED
     FOR REFUNDING TAX 3%


                                                                                             j lTOutsourcing            Co.,Ltd. j
                                                                                              u~~~18~~01~~0{~~J~1n~

     ,f'EECALCULATION IN DETAIL:
     COMM FOR FCD (USO IN USO)**• - Fee Type = [Percentage]
     9.25% on 2400
     Minimum Charge applied: [50 USO )
    Case 1:21-cv-23472-RNS Document 47 Entered on FLSD Docket 11/30/2021 Page 21 of 23

       Case 1:21-cv-23472-XXXX Document 1-2 Entered on FLSD Docket 09/29/2021 Page 28 of 70




/ 02 / 2021 H1deaddltional information ror uct,~            5. OOWIRE TYPE : I NTL IN activity type 4,885 .oo
            DATE :210902 TI ME:0510 ET TRN _                . .                       credit



          Type:
                Credit
           Description:
                WIRE TYPE : INTL IN DATE :210902 TIME :0510 ET TRN -
                SEQ :OR21364447 / 381569 ORIG : IT OUTSOURCING C~                      759 PMT DET : $15 .00
                FEE DEDUCTINV .NO : IT202109002
            Merchant name: 1
                IT OUTSOURCING CO ., LTD .Select toEditthe merchant name
             Merchant information:
              Transaction category: 1
                Income : Other Income Select toEdit




                                                                      IfOutsourcing      Co.,Ltd.
Case 1:21-cv-23472-RNS Document 47 Entered on FLSD Docket 11/30/2021 Page 22 of 23




                                                                 -Jf ffl tfl t3 KASIKORNBANK

    RECEIPT

    Ki\SIKORNO,\ K f>lJOl.ll' COMPANY LIMff'ED
    INT ER Al'ION L rRAIWAND FM.l'ORIN(i PROCl·$SINO DEPARTMENT
    400 ... 2 PIIAIIONYOTltlN ROAD .
    •' \MSENN AI. PH YA171AI.
    ll NG KOK 10400. nl ,\I LAN D.

     l't\ \ II :       0107536000315
                                                                                                       DATE:02-Scp-21
     RIT Fll'T NUMBER:         OIU 13644470209202 113204 1
     TRANSALTION REF :         OR 21364447
     MESSRS:                   IT OUTSOURCING CO .. LTD.
                               52013 MOO 3.
                               BANG NON. MUENG.
                               RANONG 85000, THAILAND.
      REM ff PROCEEDS TO :     BANK or AM ERICA. N.A.
     FOR SETTLHvl ENT OF :     000085000631
                               DEAN M HODG EN OR LORI HODGEN
     TT AMOUNf :               USD 4.900.00
     DETAIL OF PAYMENT :       !NV.NO : IT202109002
       \VE HA VE RECEIVED PAYMENT BY DEBIT ACCOUNr
     A IC NO.:                 6119208759
     A/C NAME:                 IT OUTSOURCING CO ..LTD.
     PURPOSE:


      DETAILS AS FOU1)WS:

      DESC RIPTION                     CCY           AMOUNT         RATE          FX REF. NO.              CCY               AMOUNT
      Principal Amount                                                                                     USD                4.900.00

      SWIFT CHARGES IN                                                                                     USD                      20.00
       uso   0
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      COMM FOR FCD (USD IN                                                                                 USO                       50.00
      USD)u•
      Kt::M11 1ANLt&AMENLJ                                                                                  USD                          5.00
      COMM . USDu•
      TOTAL AMOUNT                                                                                          USD                  4,975.00
      " FOREIGN BANK CHARGE & ST AMP DUTY ~~uw,11::'!1'1l~\jnili1u.l3'1l'l1~U'Ur1tJ~"!ltN!i'U1~11 "
       MID RATE FOR CONVERSIONTOTHB OR REFUND TAX = 32.3523

       KASIKORNBANK PUBLIC COMPANY LIMITFD

       THIS RECEIPT DOES NOT REQUI RE AN AUTHORIZED S IGNATU RF.

       *** TOTAL FEE FROM1,000 BAHT AFT ER COUPON DEDUCTION (IF ANY) PER TRANSACTION CAN BE USED
       FOR RErUNDING TAX 3%


                                                                                    j lTOutsourcing Co.,ltd.1
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       ~EECALCULATION IN DETA IL:
       COMM FOR FCD (USD IN USD)u• - Fee Type = [Percentage]
       0.25% on 4900
       Minimum Charge applied: [50 USO]
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Case 1:21-cv-23472-RNS Document 47 Entered on FLSD Docket 11/30/2021
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